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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                         :          Case No. 1:21-cr-35-EGS
                                                 :
                  v.                             :
                                                 :
JEFFREY SABOL                                    :


                                    JOINT STATUS REPORT
       Per the Court’s March 23rd Minute Order requesting mutually available dates to reschedule

the continued March 23rd bond hearing for Mr. Sabol, the parties have conferred regarding

scheduling. The parties are both available the following dates/times:

   1. March 31st anytime.

   2. April 1st in the morning.

   3. April 7th in the afternoon.

   4. April 8th and April 9th after 11 AM.

   5. April 13th and April 16th anytime.

                                             Respectfully submitted,
                                              /s/ Jon w. Norris
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